    Case 7:18-cv-00040-MFU Document 7 Filed 05/14/19 Page 1 of 1 Pageid#: 18
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                     IN THE UNITED STATESDISTRICT COURT                                    MAï 1i 2218
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JEREM Y SQUIRE & ASSOCIATES,
LTD .,

        Plaintiff,                                      Case N o.7:18-cv-40



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ORDERED andADJUDGED thatthiscaseisdislnissedwithoutprejudice,and
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